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                                CERTIFICATE OF SERVICE

               I, Leslie C. Heilman, Esquire, hereby certify that on this 29th day of September,

2015, I caused a true and correct copy of the foregoing Joinder of the Macerich Company and

Boulevard Invest, LLC in Objection of Federal Realty Investment Trust and GGP Limited

Partnership to Debtors’ Motion for Order Pursuant to Bankruptcy Code Sections 105, 365(a) and

554 of the Bankruptcy Code, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy Rule

9013-1 Authorizing and Approving Procedures for Rejection of Executory Contracts and

Unexpired Leases to be served on the addressees listed on the attached service list the manner

indicated.


Dated: September 29, 2015
Wilmington, Delaware
                                             /s/ Leslie C. Heilman
                                             Leslie C. Heilman, Esquire (No. 4716)




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                                           SERVICE LIST

Via Hand Delivery:                                  Via First Class U.S. Mail:
Laura Davis Jones, Esq.                             Van C. Durrer, II, Esq.
Pachulski Stang Ziehl & Jones LLP                   Annie Z. Li, Esq.
919 N. Market Street, 17th Floor                    Skadden, Arps, Slate, Meagher & Flom LLP,
Wilmington, DE 19801                                300 South Grand Avenue, Suite 3400, Los
Proposed Counsel for Debtors and Debtors in         Angeles, California 90071,
Possession                                          Proposed Counsel for Debtors and Debtors in
                                                    Possession
Dain A. De Souza, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP            John K. Lyons, Esq.
920 N. King Street, P.O. Box 636                    Skadden, Arps, Slate, Meagher & Flom LLP
Wilmington, DE 19801                                55 North Wacker Drive
Proposed Counsel for Debtors and Debtors in         Chicago, Illinois 60606
Possession                                          Proposed Counsel for Debtors and Debtors in
                                                    Possession
Robert J. Dehney, Esq.
Morris Nichols Arsht & Tunnell LLP                  Patrick J. Nash, Jr.
1201 North Market Street, 16th Floor,               Kirkland & Ellis LLP
P.O. Box 1347                                       300 North LaSalle
Wilmington, Delaware 19899-1347                     Chicago, Illinois 60654,
Counsel to the Agent for the Debtors’               Counsel to the Agent for the Debtors’
Postpetition Term Loan Facility                     Postpetition Term Loan Facility

Steven K. Kortanek, Esq.                            David S. Berman, Esq.
Womble Carlyle Sandridge & Rice, LLP,               Reimer & Braunstein LLP,
222 Delaware Avenue, Suite 1501,                    Three Center Plaza,
Wilmington, Delaware 19801,                         Boston, Massachusetts 02108
Counsel to the Agent for the Debtors’               Counsel to the Agent for the Debtors’
Prepetition and Postpetition Secured ABL            Prepetition and Postpetition Secured ABL
Facilities                                          Facilities

Mark Kenney, Esq.                                   Steven E. Fox, Esq.
Office of the United States Trustee                 Reimer & Braunstein LLP
for the District of Delaware,                       Times Square Tower
844 King Street, Suite 2207, Lockbox 35,            Seven Times Square, Suite 2506,
Wilmington, Delaware 19801,                         New York, New York 10036,
                                                    Counsel to the Agent for the Debtors’
Justin R. Alberto, Esq.                             Prepetition and Postpetition Secured ABL
Bayard, P.A.                                        Facilities
222 Delaware Avenue, Suite 900
Wilmington, Delaware 19801
Counsel for the Official Committee of
Unsecured Creditors




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U.S. Bank National Association
Attn: Justin L. Shearer, Vice President
Global Corporate Trust Services,
100 Wall Street,
New York, New York 10005,
Agent for the Debtors’ Prepetition senior
Secured Notes and Prepetition Senior
Unsecured Notes

Cathy Hershcopf, Esq.
Jay R. Indyke, Esq.
Seth Van Aalten, Esq.
Robert Winning, Esq.
Cooley LLP
1114 Avenue of the Americas
New York, New York 10036
Counsel for the Official Committee of
Unsecured Creditors




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